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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

  MOTION TO MODIFY THE PROTECTIVE ORDER TO ALLOW THE
 DEFENDANT DISCOVERY ACCESS NEEDED TO PREPARE FOR TRIAL

       In ECF No. 26, the Court enacted a protective order governing discovery. That order

permitted the Defendant to use sensitive and highly sensitive materials for defense in this case

(Section 1a), but prevented the Defendant from directly possessing materials that the government

designated as highly sensitive (Section 6a). However, Section 6c of the protective order grants

that restrictions of possession of highly sensitive information “shall not apply to the person to

whom the Highly Sensitive information solely and directly pertains.” Furthermore, Section 11a

of the protective order excludes materials from the order that “Are, or later become, part of the

public court record, including materials that have been received in evidence in this or other

public trials or hearings.” And Section 9 of the order allows the Defendant to seek a modification

to the order and establishes that the burden of demonstrating need for a protective order

continually remains on the government.

       The Court has set a trial date of July 22, 2024, which means I will need to exercise my

Sixth Amendment right to confront witnesses. In the months leading up to trial, I will need to

possess and organize evidence that will be used to confront witnesses, including some evidence

that the government has designated as highly sensitive. Currently the government designates all
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CCTV from the interior of the Capitol as highly sensitive, and the government has also brought

accusations against me related to the interior of the Capitol, so at the moment, I am prohibited by

the protective order from possessing crucial evidence that directly pertains to my case.

       Since I am a Pro Se Defendant, I will need to possess all highly sensitive media that

directly pertains to me, in order to prepare exhibits for confronting witnesses. For instance, for

some incidents, I will need to synchronize CCTV to publicly available video or other CCTV. I

will also need to zoom in on or slow the playback speed of some CCTV footage so that key

details are easier for the jury to see. Such video exhibits take considerable time to create but are

pivotal for delineating the facts of this case. Without these exhibits, I will not be able to

adequately cross-examine witnesses, which would deprive me of my Sixth Amendment right to

confront accusers.

       Additionally, there are some documents and media that have been designated as highly

sensitive that I will need to possess in order to confront likely witnesses in this case. I will need

to organize these files before the trial and have direct access so that I can create exhibits. Even if

some of these files do not directly depict or describe me, they directly pertain to me because they

are needed to confront the actions or credibility of those who are making accusations against me.

       Representatives from the government have also previously acknowledged to this Court

that I will need to directly possess highly sensitive files that directly pertain to me in the months

leading up to trial so that I can adequately prepare my defense. I therefore am exercising Section

9 of the protective order and move that this Court either modify the protective order to allow me

to possess highly sensitive files that directly pertain to me and witnesses in this case (so that I

may organize files and create exhibits needed for trial); or for the Court to recognize that Section
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11a of the protective order already allows me to possess these files since they will become public

court record during trial.

       Furthermore, I request that in the interests of justice this motion be granted at least four

months prior to trial to allow me adequate time to organize all files needed for my defense and to

prepare trial exhibits that are needed to confront my accusers.

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                         Certificate of Service
   I certify a copy of this was filed electronically for all parties of record on January 30, 2024.
                                                   /s/
                                   William Alexander Pope, Pro Se
